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United States District Court,
District of Columbia

David Alan Carmichael, Et al. )
)
Plaintiffs )
) Case No: 19-CV-2316-RC
V. )
)
Michael Richard Pompeo, Et al. )
)
Defendants )
NOTICE AND DEMAND

Plaintiff Carmichael Gives Notice To Defendants And Demands That Defendants Show
Cause By Clear And Convincing Evidence If The Identity Of Carmichael Is In Question

Notice

1. The Defendants have admitted that the passport issued for me on January 24, 2008, was
done so lawfully.

2. The passport issued for me on January 24, 2008, has never been questioned by the
defendant as being improperly or unlawfully issued.

3. The passport issued on January 24, 2008, by the Defendants in response to my DS-11
U.S. Passport Application has never been questioned by the defendant as being issued due to
erroneous, or lacking, information to support the verity of my identity.

4. In my conversation with Christine McClean regarding Plaintiff William Pakoz, on March
12, 2019, she never said that there was any question regarding verity of William’s identity. She
readily spoke to me about William’s case which causes me to understand that she had read the
document made by William that granted to me his power of attorney for the matter of his

passport processing. She had no question about my identity as — the one who had William’s

 

power of attorney.

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5. Inthe correspondence from the Defendants, they have never asserted that their revoking
my passport issued on January 30, 2018 was on the basis of their not being certain about my
identity.

6. Nowhere in any of the correspondence to me from the Defendants, do the Defendants at
any time indicate that there is any question to the verity of my identity.

7. The Defendants ordinary procedure in renewing a passport in response to a DS-82
passport renewal application is to use the previously issued passport as evidence of identity.
There is normally no other requirement. The DS-82 U.S. Passport renewal applications are
normally sent by the applicant through the mail to the Defendants, along with the U.S. Passport
holder’s previously issued passport. If there is no reason to believe that the sender of the renewal
application is not the person sending in the renewal application, there is no change in the
residence or mailing address, and the proper fees are submitted, the passport is ordinarily
renewed and sent to the renewal applicant by mail.

8. I, David Alan Carmichael, am the same man who applied for a passport in 2007 on form
DS-11, and had a U.S. Passport issued for me, passport number 436634760. I have not changed
my identity, residence, domicile, religion, or any other thing relevant to the administration or law
relating to United States passports.

9. The Defendants in the case referenced and styled above, have made no good faith
allegation that there is any question regarding my true identity, or that they do not believe that I
am the man that I say that I am, and that I said I am when I applied for a passport in 2007 and
was issued a passport on January 24, 2008.

10. The Defendants, through their Attorney affirmed on November 10, 2020, in a statement

made to me that there was no question as to the validity of the identity of any of the Plaintiffs

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made by the Defendants in this case.

11. The Defendants admit that they issue passports to people who have never been associated
with a Social Security Number.

12. I have observed that the Defendants do not normally send a supplemental questionnaire
to determine identity for a U.S. passport to those who have never been associated with a SSN
when they apply to renew their passports and are approved.

Demand

13. I hereby demand that the Defendants cease and desist from delaying, remanding, staying,
obstructing or in any otherwise impeding the judicial process of this civil action under the guise
of needing to verify my identity with regard to the processing of my passport renewal
applications and the Defendants obligations regarding it as a matter of law.

14. I hereby demand that the Defendants before making any allegation that they have a need
to invoke, determine, discover, or in any other way administer, a process to verify my identity
with regard to the processing of my passport renewal applications; show by clear and
convincing evidence why the verity of my identity as a man communicated to the Defendants
for the purposes of my passport application of 2008 or my passport renewal application of
January 2018, should be questioned by the United States District Court or any party, agency or

other natural or artificial person.

Verification
I, David Alan Carmichael, declare by the penalty of perjury under the laws of the United
States of America, that the foregoing statements of fact are true or are believed by me to be true

as I have deduced it by information available to me. I likewise declare that my demand here is

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in good faith in the cause of my seeking to establish justice, and not for evasion, delay or any

 

 

other maladministration.

Deed len (het Lf fleteyled f 222°
David Alan Carmichael Date

1748 Old Buckroe Road

Hampton, Virginia 23664

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